Case 1:19-cv-02498-JGK Document 54 Filed 10/21/20 Page 1 of 2

 

 

@
Gregory M. Williams USDS SDNY F
202.719.7593 DOCUMENT :
gwilliams@wiley.law

ELECTRONICALLY FILED . ‘Wiley Rein LLP ,

  

 

 

 

 

 

 

 

1776 K Street NW.
Washington, DC 20006
Tei: 202.719.7600
October 21, 2020
wiley.law
Via ECF

Honorable John G. Koelil, U.S.D.J,

United States District Court for the Southern District of New York
Daniel Patrick Moynihan United States Courthouse

500 Pearl St.

New York, NY 10007-1312

RE: NSC Inv., LLC & TGCKorea Operating, LLC vy. POSCO Eng’s & Constr, Co., Lta.,
Case No. 1:19-cv-2498 (JGE)

Dear Judge Koelti,

We represent the Plaintiffs in the above-referenced matter. We write pursuant to Your
Honor’s Individual Rule of Practice No. LE. to respectfully request adjournment of the oral
argument on Defendant POSCO Engineering & Construction Co., Ltd.’s Motion to Dismiss (D.E.-
31}. The parties are negotiating a possible resolution of this matter and believe that a 30-day
adjournment, or such later date as the Court prefers, would conserve resources for the Court and
the parties.

Currently, oral argument is scheduled for tomorrow, October 22, 2020, at 3:30 p.m. There
have been no previous requests for an adjournment of this argument (so no such requests have
been granted or denied). Plaintiffs and Defendant mutually agree to this adjournment. We
apologize for not providing 48-hours advance notice. Current conditions and the time differences
between the parties led to unanticipated delays.

We thank the Court for its attention to this matter.

 

Respectfully,
Oo /s/ Rebecca Fiebig
are
{ALY encend
af Rebecca Fiebig (Bar No. RP1982)
ef / / 7 R ¢ ; Gregory M. Williams
pe Tatiana Sainati
4) SC ce eo Ad ZG a Douglas C. Dreier
ELE Ly pte @ . Martha G. Vazquez
f cb WILEY REIN LLP
1776 K Street NW

Washington, DC 20006
Phone: (202) 719-7593

 

 
Case 1:19-cv-02498-JGK Document 54 Filed 10/21/20 Page 2 of 2
October 21, 2020
Page 2

Fax: (202) 719-7049
gwilliams@wiley.law

cc: Anthony M. Candido (counsel for Defendant POSCO E&C, via ECF).

wiley.law

 
